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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


BLACK LOVE RESISTS IN THE RUST by and
through its Co-Directors Natasha Soto and Shaketa
Redden and on behalf of its members; DORETHEA
FRANKLIN; TANIQUA SIMMONS; DE’JON HALL;
JOSEPH BONDS; CHARLES PALMER; SHIRLEY
SARMIENTO; EBONY YELDON; and JANE DOE,
individually and on behalf of a class of all others
similarly situated;

                                     Plaintiffs,

       v.                                                      Civil No.: 1:18-cv-00719-CCR

CITY OF BUFFALO, NY; BYRON B. BROWN,
Mayor of the City of Buffalo, in his individual and
official capacities; BYRON C. LOCKWOOD,
Commissioner of the Buffalo Police Department, in his
individual and official capacities; DANIEL DERENDA,
former Commissioner of the Buffalo Police Department,
in his individual capacity; AARON YOUNG, KEVIN
BRINKWORTH, PHILIP SERAFINI, ROBBIN
THOMAS, UNKNOWN SUPERVISORY
PERSONNEL 1-10, UNKNOWN OFFICERS 1-20,
each officers of the Buffalo Police Department, in their
individual capacities.

                                     Defendants.


              DECLARATION OF CHEYENNE N. FREELY
       IN OPPOSITION TO MOTION FOR CLASS CERTIFICATION

              CHEYENNE N. FREELY, ESQ., declares under penalty of perjury and in

accordance with 28 U.S.C. § 1746 as follows:
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                 1.    I am an attorney at law, duly licensed to practice in New York, and

admitted to practice before the Court for the Western District of New York. I am associated with

Hodgson Russ LLP, the attorneys for Defendants in this action.


                 2.    I submit this declaration in opposition to Plaintiffs’ Motion for Class

Certification.


                 3.    I am familiar with this action and the attached exhibits based on the fact

that I am an attorney of record, have reviewed the case file, and been involved in this matter for

over a year.


                 4.    The purpose of this Declaration is to place before the Court evidentiary

materials necessary for the Court to consider Defendants’ opposition to class certification. The

materials are explained more fully in the accompanying Memorandum of Law, which also

contains a full articulation as to Defendants’ legal position.


Testimonial Evidence

                 5.    Attached as Exhibit 1 are excerpts from testimony given by Buffalo Police

Commissioner Joseph Gramaglia at a deposition on September 23, 2023.


                 6.    Attached as Exhibit 2 are excerpts from testimony given by Commissioner

Gramaglia at a 30(b)(6) deposition held on January 24, 2024.


                 7.    Attached as Exhibit 3 are excerpts from deposition testimony given by

BPD Chief of Schools Aaron Young on October 26, 2022.




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              8.      Attached as Exhibit 4 are excerpts from deposition testimony given by

Plaintiff Charles Palmer on September 14, 2023.


              9.      Attached as Exhibit 5 are excerpts from deposition testimony given by

Buffalo Police Captain Derrick Banaszak at a 30(b)(6) deposition held on January 24, 2024.


              10.     Attached as Exhibit 6 are excerpts from deposition testimony given by

former Buffalo Police Commissioner Daniel Derenda on November 10, 2021.


              11.     Attached as Exhibit 7 are excerpts from deposition testimony given by

former Buffalo Police Commissioner Daniel Derenda on December 23, 2021.


              12.     Attached as Exhibit 8 are excerpts from deposition testimony given by

Buffalo Police Officer Charles Skipper on March 5, 2021.


              13.     Attached as Exhibit 9 are excerpts from deposition testimony given by

Buffalo Police Detective Richard Hy on July 19, 2023.


              14.     Attached as Exhibit 10 are excerpts from deposition testimony given by

the City of Buffalo Mayor Byron Brown on November 6, 2023.


              15.     Attached as Exhibit 11 are excerpts from deposition testimony given by

former Buffalo Police Captain Phillip Serafini on December 27, 2021.


              16.     Attached as Exhibit 12 are excerpts from deposition testimony given by

former Buffalo Police Lieutenant Lance Russo on April 29, 2022.




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              17.    Attached as Exhibit 13 are excerpts from deposition testimony given by

former Buffalo Police Chief Kevin Brinkworth on March 16, 2022.


              18.    Attached as Exhibit 14 are excerpts from deposition testimony given by

former Buffalo Police Lieutenant Michael Quinn on April 1, 2022.


              19.    Attached as Exhibit 15 are excerpts from deposition testimony given by

former Buffalo Police Commissioner Byron Lockwood on August 10, 2023.


              20.    Attached as Exhibit 16 are excerpts from deposition testimony given by

former Buffalo Police Commissioner Byron Lockwood on August 17, 2023.


              21.    Attached as Exhibit 17 are excerpts from deposition testimony given by

former Buffalo Traffic Violations Administrator (“BTVA”) Danielle Morgera on May 26, 2022.


              22.    Attached as Exhibit 18 are excerpts from deposition testimony given by

BTVA Commissioner Octavio Villegas on June 8, 2023.


              23.    Attached as Exhibit 19 are excerpts from deposition testimony given by

former Buffalo Police Officer Robin Thomas on March 23, 2023.


              24.    Attached as Exhibit 20 are excerpts from deposition testimony given by

the City of Buffalo’s former Finance Commissioner Donna Estrich on July 12, 2023.


              25.    Attached as Exhibit 21 are excerpts from deposition testimony given by

Plaintiff Joseph Bonds on December 15, 2022.




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               26.     Attached as Exhibit 22 are excerpts from deposition testimony given by

Plaintiff Jasmine Evans (named as Jane Doe) on December 15, 2022.


               27.     Attached as Exhibit 23 are excerpts from deposition testimony given by

Plaintiff Dorothea Franklin on May 15, 2023.


               28.     Attached as Exhibit 24 are excerpts from deposition testimony given by

Plaintiff Ebony Yeldon on December 13, 2022.


               29.     Attached as Exhibit 25 are excerpts from deposition testimony given by

Buffalo Police Detective Adam Wigdorski on May 24, 2023.


               30.     Attached as Exhibit 26 are excerpts from deposition testimony given by

Buffalo Police Officer Charles Miller on November 8, 2023.


Documentary Evidence

               31.     Attached as Exhibit 27 is the Buffalo Police Department’s Manual of

Procedures.


               32.     Attached as Exhibit 28 is BPD General Order 2021-009.


               33.     Attached as Exhibit 29 is a guide for individuals who wish to appeal a

determination made by a BTVA judicial hearing officer.


               34.     Based on the evidence submitted herewith, and based on the legal

argument contained in the accompanying Memorandum of Law, Defendants respectfully request

that the Court deny Plaintiffs’ motion for class certifcaiton.



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         I declare under penalty of perjury that the foregoing is true and correct.



Dated:        Buffalo, New York
              July 12, 2024                        /


                                                       heyenne Freel      sq.




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